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                        IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

 In re:                                                     )      Chapter 11
                                                            )
 Blackjewel, L.L.C., et al.,                                )      Case No. 19-bk-30289
                                                            )
                             Debtors.1                      )      (Joint Administration Requested)


     DECLARATION OF ROBERT J. WHITE IN SUPPORT OF MOTION OF DEBTORS
           AND DEBTORS-IN-POSSESSION FOR INTERIM AND FINAL ORDERS
      AUTHORIZING DEBTORS TO (A) OBTAIN SECURED SUBORDINATED POST-
    PETITION FINANCING PURSUANT TO 11 U.S.C. §§ 105, 361, 362, 363, 364(c)(1) AND
     364(c)(3); (B) AUTHORIZE DEBTORS TO USE CASH COLLATERAL AND OTHER
       COLLATERAL AND GRANT ADEQUATE PROTECTION TO PRE-PETITION
        SECURED LENDERS PURSUANT TO 11 U.S.C. §§ 105, 361, 362 AND 363; (C)
      SCHEDULE FINAL HEARING PURSUANT TO RULES 4001(b), 4001(c) AND 9014;
                          AND (D) GRANT RELATED RELIEF

           I, Robert J. White, hereby declare under penalty of perjury as follows:

           1. I submit this declaration (this “Declaration”) in support of the Motion of Debtors and

               Debtors-in-Possession for Interim and Final Orders Authorizing Debtors to: (A)

               Obtain Secured Subordinated Post-Petition Financing Pursuant to 11 U.S.C. §§ 105,

               361, 362, 363, 364(c)(1) and 364(c)(3); (B) Authorize Debtors to Use Cash

               Collateral and Other Collateral and Granting Adequate Protection to Pre-Petition

               Secured Lenders Pursuant to 11 U.S.C. §§ 105, 361, 362 and 363; (C) Schedule Final

               Hearing Pursuant to Bankruptcy Rules 4001(b), 4001(c) and 9014; and (D) Grant

               Related Relief, dated July 1, 2019 (the “Motion”),2 which seeks approval, among


1 The Debtors in these chapter 11 cases and the last four digits of each Debtors’ taxpayer identification number
are as follows: Blackjewel, L.L.C. (0823); Blackjewel Holdings L.L.C. (4745); Revelation Energy Holdings,
LLC (8795); Revelation Management Corporation (8908) and Revelation Energy, LLC (4605). The Debtors’
headquarters are located at 1051 Main Street, Milton, West Virginia 25541-1215.

2   All terms not otherwise defined herein shall have the meaning ascribed to them in the Motion.



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         other things, of a debtor in possession secured subordinated post-petition financing

         (the “DIP Facility”) to be extended by Jeffery A. Hoops, Sr. and Clearwater

         Investment Holdings, LLC (together, the “DIP Lender”), which is secured by a junior

         lien on the collateral subject to the Riverstone Agreement. As noted in the DIP

         Motion, the DIP Facility is in the form of a term loan in the aggregate principal

         amount of $20,000,000 which consists of (i) the existing balance of the Prepetition

         Revolving Loans in the total amount of $11,020,131 and (ii) the amounts paid to

         deliver payroll checks of the Debtors to Wyoming totaling $16,800 (such amounts,

         collectively, the “Roll-Up”), with the remaining amount of the DIP Facility in the

         amount of approximately $8.9 million being available to the Debtors as a term loan.

      2. The statements in this Declaration are, except where specifically noted, based on my

         personal knowledge or views, on information that I have received from the Debtors’

         employees or advisors, from the employees of Jefferies LLC (“Jefferies”) working

         directly with me or under my supervision, direction, or control, or from the Debtors’

         books and records maintained in the ordinary course of their businesses.

      3. I am not being specifically compensated for this testimony other than through

         payments received by Jefferies as a professional retained by the Debtors. If I were

         called upon to testify, I could and would competently testify to the facts set forth

         herein on that basis. I am authorized to submit this Declaration on behalf of the

         Debtors.

                        Professional Background and Qualifications

      4. Jefferies provides a broad range of corporate advisory services to its clients including,

         without limitation, services related to the following: (a) general financial advice; (b)

         mergers, acquisitions, and divestitures; (c) special committee assignments; (d) capital
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         raising; and (e) corporate restructurings. Jefferies and its senior professionals have

         extensive experience in the reorganization and restructuring of troubled companies,

         both out of court and in chapter 11 proceedings. Jefferies has advised debtors,

         creditor and equity constituencies, and purchasers in numerous reorganizations in the

         United States and worldwide. Since 2007, Jefferies has been involved in over 250

         restructurings representing approximately $500 billion in restructured liabilities. In

         the coal industry, since 2015, Jefferies has advised Mission Coal and Cambrian Coal

         in their chapter 11 cases and has also advised the Official Committees of Unsecured

         Creditors in the chapter 11 cases of Patriot Coal, Alpha Natural Resources, Arch

         Coal, Peabody Energy, Armstrong Energy, Westmoreland Coal and Cloud Peak

         Energy.

      5. I have approximately 20 years’ experience as an advisor in corporate restructurings

         and distressed situations. I have advised companies, creditors, shareholders, and other

         stakeholders regarding restructurings and recapitalizations, chapter 11 re-

         organizations, and mergers and acquisitions. While at Jefferies and at prior firms, I

         have advised significant stakeholders in chapter 11 cases, including those of Arch

         Coal, Brookstone, Inc., Blockbuster Inc., Claire’s Inc., Eastman Kodak, Extended

         Stay Hotels, The Great Atlantic & Pacific Tea Co., Hayes-Lemmerz International,

         Momentive Performance Materials, Reddy Ice Holdings, and Rex Energy.

      6. In virtually all of those cases, I advised clients with respect to issues relating to

         chapter 11 plan negotiations, DIP financings, cash collateral usage, 363 sale

         processes, and/or new money recapitalizations, in each case analyzing and evaluating




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         business plans, cash flow forecasts, and liquidity needs as well as evaluating,

         negotiating, and structuring DIP financings.

      7. Prior to working at Jefferies, I was a Senior Distressed Debt Analyst at Fintech

         Advisory, Inc., a private investment firm with $4 billion of assets under management.

         Prior to working at Fintech Advisory, Inc., I was a Director with Barclays Capital’s

         Distressed Debt trading desk. While at Fintech Advisory, Inc. and Barclays Capital, I

         analyzed, invested, and traded in the securities of distressed companies. Prior to that

         time, I was a Senior Vice President specializing in restructuring advisory services at

         Chanin Capital Partners, Inc., a boutique investment bank. I hold an MBA from

         Boston University and a Bachelor’s Degree with Honors from Allegheny College. I

         also hold FINRA Series 7 and Series 63 licenses.

      8. I have testified at trial, deposition, or by proffer in the chapter 11 cases of Arch Coal,

         Claire’s Inc., Forbes Energy, and Real Industry, among others. As a result of my

         experience and training, I am able to assess a company’s ability to raise DIP

         financing and whether various financing terms are customary and usual.

      9. In addition, Jefferies is well acquainted with the current DIP financing market for

         coal companies based on its extensive experience in recent coal restructuring cases

         including Cloud Peak, Cambrian Coal, Mission Coal, and Westmoreland, among

         others.

                         The Debtors’ Immediate Liquidity Needs

      10. The Debtors have advised that they are in urgent need of an immediate capital

         infusion. Specifically, as noted in the Motion, the Debtors lack sufficient funds to

         operate their enterprise and continue paying their debts as they come due. I am also

         advised that, as of the Petition Date, the Debtors’ total cash balance is approximately
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         $0.1 million, and that they do not have readily available sources of additional

         financing, other than the proposed DIP Facility.

      11. The Debtors believe that they have suffered from company specific and

         macroeconomic factors that have prevented them from maximizing the value of their

         mining operations. I am advised that the combination of higher than expected costs

         required to maximize efficiency at the mines, operational issues that affected

         production levels and an unforeseen dispute between the Prepetition Lender and the

         Debtors led to the severe liquidity crisis that was the ultimate cause of these chapter

         11 cases.

      12. Jefferies reviewed the 13-week cash flow forecast prepared by the Debtors and FTI

         Consulting, Inc., the Debtors’ proposed financial advisor, which takes into account

         anticipated cash receipts and disbursements during the 13-week projection period and

         considers a number of factors, including the effect of the chapter 11 filing on the

         operations of the business, professional fees, and required operational payments.

         Based upon these forecasts and discussions with the Debtors’ management and other

         advisors, I do not believe it would be possible to administer the Debtors’ chapter 11

         estates through a cash collateral agreement only given the Debtors’ existing liquidity

         and forecasted receipts and expenditures.

      13. Without access to the DIP Facility, moreover, the Debtors will have virtually no cash

         on hand, and based on the Debtors’ liquidity forecast, the Debtors will not be able to

         generate sufficient levels of operating cash to cover their working capital needs and

         the costs of these chapter 11 cases. Most critically, I understand that the Debtors are

         required to make a payment in the amount of approximately $6 million to fund their



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         employees’ salaries, taxes, and benefits on the first day of the chapter 11 cases.

         Accordingly, without immediate access to funding, the Debtors believe that they will

         have no choice but to convert their cases to Chapter 7 cases and liquidate their assets,

         with the attendant loss of thousands of employees’ jobs.

                   The Terms of the DIP Financing Are Fair and Reasonable

      14. As noted in the Motion, the DIP Lender has agreed to provide a $20 million junior

         secured term note facility (the “DIP Credit Agreement”), comprising of

         approximately $8.9 million of new money and $11 million to “roll up” the principal

         balance of the Prepetition Revolving Loans. The Debtors will have immediate access

         to approximately $8.9 million upon entry of the interim DIP Order and the Roll-Up

         will refinance the Prepetition Revolving Loans.

      15. I understand that the DIP Term Loan Note will be secured by junior liens only on the

         Riverstone First Lien Collateral. As a result, as noted in the Motion, the DIP Term

         Loan Note will not be secured by the other collateral that is currently unencumbered

         or by the collateral that is encumbered by other secured lenders. The Debtors believe

         that access to the DIP Term Loan Note will provide the Debtors with capital that is

         essential to (a) operate throughout these chapter 11 cases; (b) avoid irreparable harm

         to the Debtors’ estates; and (c) provide the Debtors with sufficient runway to pursue

         either a reorganization or a sale transaction, whichever will provide maximum value

         for the Debtors and their creditors.

      16. As noted in the Motion, the DIP Credit Agreement includes an interest rate of:

         LIBOR + 600 bps and interest on the DIP Term Loan Note will accrue through the

         pendency of the cases and the Debtors will not be required to pay immediate cash



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         interest. I understand that the accrued interest will be paid on the earliest to occur of

         (i) entry of an order in the cases approving financing from any lender other than the

         DIP Lender; (ii) the Maturity Date; (iii) the Financing Order ceasing to be in full

         force and effect for any reason; (iv) entry of an order of (a) confirmation of any plan

         of reorganization, or (b) consummation of a sale of substantially all of the Debtors’

         assets pursuant to Section 363 of the Bankruptcy Code; (v) appointment of a Chapter

         7 or Chapter 11 trustee; or (vi) the occurrence of an Event of Default. This non-cash

         pay interest rate feature provides liquidity relief to assist in funding the Debtors’

         working capital requirements, operating expenditures, and administrative expenses.

         Importantly, the DIP Credit Agreement also does not include any additional fees such

         as commitment fees, call premiums, or termination fees.

      17. It is also important to note that the DIP Credit Agreement contains no covenants, such

         that the Debtors will not bear the risk that the Debtors’ performance leads to a

         potential default under the DIP loan. In addition, the DIP Credit Agreement contains

         no milestones, such that the Debtors will be able to explore all appropriate options to

         maximize the value for the Debtors for the benefit of all stakeholders.

      18. Based on my experience as a restructuring professional, I believe that the pricing and

         other financial terms of the DIP Credit Agreement are customary and usual for DIP

         financings generally and that the terms of the DIP Credit Agreement are in fact more

         advantageous than recent DIP financings in the coal industry (particularly given the

         lack of covenants and milestones).

    The DIP “Roll-Up” Feature Is a Result of Good Faith Arms’ Length Negotiations

      19. The Roll-Up was required by the DIP Lender as a condition to its commitment to

         provide postpetition financing. Also, as noted above, absent approval of the DIP
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         Facility, the Debtors believe that their ability to continue operating as a going concern

         will be jeopardized to the detriment of all parties-in-interest, so it is critical that the

         Debtors be able to access the DIP Facility as quickly as possible after the chapter 11

         filing.

      20. It is my understanding that the prepetition lender parties to the Riverstone Agreement

         are unwilling to provide DIP financing to the Debtors. I also believe that it is

         unlikely that alternative third-party sources of DIP financing on a junior basis are

         readily available to the Debtors under the circumstances. As a result, I believe that

         the DIP Credit Agreement represents the only viable financing currently available to

         the Debtors.

      The Debtors Believe that the Proposed DIP Facility is Necessary and Is the Best DIP
                          Financing Option Available to the Debtors

      21. The Debtors believe that the proposed DIP Facility will provide them with immediate

         access to liquidity that is intended to ensure that the Debtors’ business is stabilized

         and value is maximized for the benefit of all parties-in-interest. The Debtors also

         believe that entering into the DIP Facility will position the Debtors for a successful

         and expeditious restructuring, and will send a strong, positive signal to the Debtors’

         employees and business partners regarding the Debtors’ prospects, which will

         facilitate the smooth administration and success of these chapter 11 cases.

                                   Need for Interim Relief

      22. I understand that the Debtors’ businesses are cash intensive, with significant daily

         costs that must be promptly paid in order to continue mining operations and satisfy

         obligations to vendors and employees. As such, and due to their current limited

         liquidity, the Debtors advise that they require immediate access to post petition


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           financing and the use of cash collateral to operate their businesses, preserve value,

           and to avoid irreparable harm. Most critically, I understand that the Debtors are

           required to make a payment in the amount of approximately $6 million to fund their

           employees’ salaries, taxes, and benefits on the first day of these cases. Absent funds

           available from the DIP Facility and access to cash collateral, the Debtors could face a

           value-destructive interruption to their businesses and risk a Chapter 7 liquidation of

           their assets, with the potential loss of jobs.



                                             Conclusion

       23. Based on my experience with debtor-in-possession financing transactions as well as

           my understanding of the immediate liquidity needs of the Debtors, I believe that the

           DIP Facility is the best financing option currently available to the Debtors under the

           circumstances.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct to the best of my knowledge, information, and belief.



Dated: July 1, 2019                                 /s/ Robert J. White
                                                    Robert J. White
                                                    Managing Director
                                                    Jefferies LLC

                                                    Proposed Investment Banker for the Debtors




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